Filed 05/04/19                                                  Case 19-20117                                                                     Doc 22
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 19-20117-D
    Robert Lee McCabe                                                                                          Chapter 7
    Sharon Lois McCabe
             Debtors
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-2                  User: tjof                         Page 1 of 1                          Date Rcvd: May 02, 2019
                                          Form ID: 318                       Total Noticed: 17

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    May 04, 2019.
    db/jdb         +Robert Lee McCabe,    Sharon Lois McCabe,   1354 Meadowbrook Lane,   Corning, CA 96021-3131
    22644396       +First Investors Servicing Corp,    PO Box 205749,   Dallas TX 75320-5749
    22644399       +Synchrony Bank,    PO Box 690061,   Orlando FL 32869-0061

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    aty            +E-mail/Text: djacobs@japc-law.com May 03 2019 03:23:26       Douglas B. Jacobs,
                     20 Independence Cir,    Chico, CA 95973-0210
    tr              EDI: QMPDACQUISTO.COM May 03 2019 07:08:00       Michael P. Dacquisto,     PO Box 493310,
                     Redding, CA 96049-3310
    smg             EDI: EDD.COM May 03 2019 07:08:00      Employment Development Department,
                     Bankruptcy Group, MIC 92E,    PO Box 826880,    Sacramento, CA 94280-0001
    smg             EDI: CALTAX.COM May 03 2019 07:08:00      Franchise Tax Board,     PO Box 2952,
                     Sacramento, CA 95812-2952
    22644390        EDI: CBS7AVE May 03 2019 07:08:00      Ashro,    111 27th Ave,    Monroe WI 53566
    22644391       +EDI: BANKAMER.COM May 03 2019 07:08:00      Bank of America,     PO Box 31785,
                     Tampa FL 33631-3785
    22644392       +EDI: CAPITALONE.COM May 03 2019 07:08:00      Capital One,     PO Box 60599,
                     City Of Industry CA 91716-0599
    22644393       +EDI: RCSFNBMARIN.COM May 03 2019 07:08:00      Credit One Bank,     PO Box 60500,
                     City of Industry CA 91716-0500
    22644394       +EDI: ESSL.COM May 03 2019 07:08:00      Dish Network,    PO Box 7203,     Pasadena CA 91109-7303
    22644395       +EDI: BLUESTEM May 03 2019 07:08:00      Fingerhut,    6250 Ridgwood,    Saint Cloud MN 56303-0820
    22644397        E-mail/Text: bncnotices@becket-lee.com May 03 2019 03:22:40        Kohls,    PO Box 2983,
                     Milwaukee WI 53201-2983
    22644398       +EDI: MERRICKBANK.COM May 03 2019 07:08:00      Merrick Bank,     PO Box 9201,
                     Old Bethpage NY 11804-9001
    22644401       +EDI: RMSC.COM May 03 2019 07:08:00      Walmart,    Sychrony Bank,    PO Box 965060,
                     Orlando FL 32896-5060
    22644400       +EDI: RMSC.COM May 03 2019 07:08:00      Walmart,    Synchrony Bank,    PO Box 960027,
                     Orlando FL 32896-0027
                                                                                                    TOTAL: 14

                 ***** BYPASSED RECIPIENTS *****
    NONE.                                                                                                               TOTAL: 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.

    Transmission times for electronic delivery are Eastern Time zone.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
    Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
    by the bankruptcy rules and the Judiciary’s privacy policies.
    Date: May 04, 2019                                             Signature: /s/Joseph Speetjens

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                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on May 2, 2019 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
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        Information to identify the case:
        Debtor 1              Robert Lee McCabe                                           Social Security number or ITIN   xxx−xx−4765
                              First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
        Debtor 2              Sharon Lois McCabe                                          Social Security number or ITIN   xxx−xx−4134
        (Spouse, if filing)
                              First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
        United States Bankruptcy Court Eastern District of California

        Case number: 19−20117



        Order of Discharge                                                                                                         12/15


        IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

                   Robert Lee McCabe                                             Sharon Lois McCabe
                   1354 Meadowbrook Lane                                         1354 Meadowbrook Lane
                   Corning, CA 96021                                             Corning, CA 96021


                   Dated:                                                        For the Court,
                   5/2/19                                                        Wayne Blackwelder , Clerk


        Explanation of Bankruptcy Discharge in a Chapter 7 Case

        This order does not close or dismiss the case,                           This order does not prevent debtors from paying
        and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
        any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                                 11 U.S.C. § 524(c), (f).
        Creditors cannot collect discharged debts
        This order means that no one may make any                                Most debts are discharged
        attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
        debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
        cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
        or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
        personally on discharged debts. Creditors cannot
        contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
        in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
        Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
        to pay debtors damages and attorney's fees.                              are discharged.

        However, a creditor with a lien may enforce a                            In a case involving community property: Special
        claim against the debtors' property subject to that                      rules protect certain community property owned
        lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
        For example, a creditor may have the right to                            not file a bankruptcy case.
        foreclose a home mortgage or repossess an
        automobile.

                                                                                                For more information, see page 2 >




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        Some debts are not discharged                             Also, debts covered by a valid reaffirmation
        Examples of debts that are not discharged are:            agreement are not discharged.

             ♦ debts that are domestic support                    In addition, this discharge does not stop
               obligations;                                       creditors from collecting from anyone else who is
                                                                  also liable on the debt, such as an insurance
                                                                  company or a person who cosigned or
             ♦ debts for most student loans;                      guaranteed a loan.


             ♦ debts for most taxes;
                                                                   This information is only a general summary
             ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
               decided or will decide are not discharged           exceptions exist. Because the law is
               in this bankruptcy case;                            complicated, you should consult an
                                                                   attorney to determine the exact effect of the
                                                                   discharge in this case.
             ♦ debts for most fines, penalties,
               forfeitures, or criminal restitution
               obligations;

             ♦ some debts which the debtors did not
               properly list;


             ♦ debts for certain types of loans owed to
               pension, profit sharing, stock bonus, or
               retirement plans; and


             ♦ debts for death or personal injury caused
               by operating a vehicle while intoxicated.




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